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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        )
                                                 )
                 v.                              )
                                                 )
 RICHARD W. GATES III,                           )             Crim. No. 17-201-2 (ABJ)
                                                 )
                 Defendant.                      )


DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION FOR PERMISSION
                          TO TRAVEL

       Defendant, by and through counsel, respectfully moves this Court to grant him

permission to travel. Mr. Gates asks the Court to grant him permission to travel to one event,

specified in Exhibit 1, which will take place outside the jurisdiction of his release conditions.

The Special Counsel does not oppose this motion.

       If the Court grants the limited permission to travel to the event, Mr. Gates will promptly

provide Pretrial Services with any specific information about the trip, including the information

identified in Exhibit 1 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves this Court to grant him permission

to travel according to the limits specified above and in Exhibit 1. A draft order is attached.


                                                      Respectfully submitted,


                                                      /s/Thomas C. Green
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                                                      D.C. Bar No. 14498
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                                  Attorney for Richard W. Gates III




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                                CERTIFICATE OF SERVICE

        Undersigned counsel hereby certifies that a copy of Defendant Richard W. Gates III’s
Unopposed Motion for Permission to Travel, including attachment, was transmitted
electronically to counsel for the United States Department of Justice, Special Counsel’s Office,
on May 15, 2018.



                                                    /s/Thomas C. Green
                                                    Thomas C. Green
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                                                    Attorney for Richard W. Gates III
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     )
                                              )
               v.                             )
                                              )
 RICHARD W. GATES III,                        )             Crim. No. 17-201-2 (ABJ)
                                              )
               Defendant.                     )




                                           ORDER

       Upon consideration of Defendant Richard W. Gates III’s Unopposed Motion for

Permission to Travel, and finding good cause shown, it is this ___ day of May, 2018, hereby

       ORDERED, that the motion is GRANTED.



                                            _______________________________________
                                            AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE




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